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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


 KEVIN OMAR HARPER,

                             Plaintiff,
        v.
                                                                         ORDER
 SGT. TERRENCE JUDD, ANTHONY REED,
                                                                      20-cv-592-jdp
 ROBERT FISHER, JOE NIESL, LT. ROBYN
 LODEN, and SGT. LOHMAN-PETERSON,

                             Defendants.


       Pro se plaintiff Kevin Omar Harper is proceeding on claims that prison staff at

Columbia Correctional Institution sexually harassed him, failed to protect him from harm, and

retaliated against him. Harper has filed a motion requesting that the court issue subpoenas to

several non-defendants that have information relevant to his claims. Dkt. 35. Harper says that

he needs the information to clarify discovery responses from defendant Judd and to obtain

information about an investigation that non-party Captain Pitzen conducted on Harper’s

PREA complaint.

       I will deny Harper’s motion without prejudice. Harper says that he wants to serve

interrogatories and document requests on several non-parties. But interrogatories may only be

served on parties. See Fed. R. Civ. P. 33. And Harper has not identified any specific document

that he intends to request from the non-parties that he could not obtain directly from

defendants. In addition, defendants’ counsel has agreed to accept additional discovery requests

for interrogatories or production of documents for defendant Judd. Counsel also has agreed to

produce any specific, relevant documents not in the possession of or drafted by Judd. Dkt. 37.

       Harper should first attempt to obtain the information and documents that he seeks
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from defendants’ counsel. If defendants do not produce the documents that Harper needs, he

may renew his motion for a subpoena by identifying the specific documents he wants to request

from the non-parties, why those documents are relevant to his claims, and the efforts he has

made to obtain the documents from defendants’ counsel.



                                          ORDER

       IT IS ORDERED that plaintiff Kevin Omar Harper’s motion for a subpoena duces

tecum, Dkt. 35, is DENIED without prejudice.



          Entered June 8, 2021.

                                          BY THE COURT:

                                          /s/
                                          ________________________________________
                                          JAMES D. PETERSON
                                          District Judge




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